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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DOLLS KILL, INC., a California
Corporation,

       Plaintiff,                                            No.

v.

THE PARTNERSHIPS AND                                         Jury Demanded
UNINCORPORATED ASSOCIATIONS
IDENTIFIED IN SCHEDULE “A”,

       Defendants.
                                         COMPLAINT

       Plaintiff, Dolls Kill, Inc. (“Dolls Kill”), by and through its undersigned attorneys, hereby

prays to this honorable Court for relief based on the following:

                                       INTRODUCTION

       1.      This action has been filed by Plaintiff in attempt to combat e-commerce store

operators who trade upon Plaintiff’s reputation and goodwill by making, using, offering for sale,

selling and/or importing into the United States for subsequent sale or use that same unauthorized

and unlicensed products which infringe on Plaintiff’s copyrights (collectively, the “Infringing

Products”). Exemplars of the Infringing Products are shown in Exhibit B attached hereto. A true

and correct copy of Plaintiff’s copyrighted designs are attached hereto as Exhibit A (the “Subject

Designs”).

       2.      Dolls Kill is a company that creates various fun and unique designs (the “Subject

Designs”) and later incorporates the Subject Designs on products offered for sale, such as apparel,

accessories, and home décor.




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        3.       The Defendants create numerous Internet stores and design them to appear to be

selling genuine products copyrighted by Plaintiff, while selling inferior imitations of Plaintiff’s

Designs. The Defendant Stores share unique identifiers, such as design elements and similarities

of the infringing products offered for sale, establishing a logistical relationship between them and

suggesting that Defendants’ illegal operations arise from the same transaction, occurrence, or

series of transactions and occurrences. Defendants attempt to avoid liability by going to great

lengths to conceal both their identities and the full scope and interworking of their illegal infringing

operation. Plaintiff is therefore forced to file this action to combat Defendants’ infringement of its

Subject Designs, and to protect unknowing customers from purchasing unauthorized products over

the Internet.

        4.       This action has also been filed to combat the e-commerce store operators who are

infringing on Plaintiff’s original copyrighted photographs (“Subject Photographs”) by displaying,

copying, or otherwise distributing the Subject Photographs in commercial advertisements of the

Infringing Products (“Offending Advertisements”). True and correct screen captures of the

Defendants Offending Advertisement alongside Plaintiff’s original Subject Photographs is shown

in Exhibit D attached hereto. Exhibit D is a non-exclusive list of exemplars of Defendants’ use of

Dolls Kill’s Subject Photographs.

        5.       Dolls Kill brings this action for willful copyright infringement and piracy

committed for purposes of commercial advantage or private financial gain by the reproduction or

distribution, including by electronic means, of one or more copies of copyrighted works in

violation of 17 U.S.C. §501, and for all the remedies available under the Copyright Act 17 U.S.C.

§ 101, et seq.




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        6.      This unauthorized usage constituted copyright infringement, amongst other things,

as set forth below.

                                  JURISDICTION AND VENUE

        7.      This Court has original subject matter jurisdiction over the claims in this action

arising under the Copyright Act of 1976, Title 17 U.S.C., §§ 101, et seq., under 28 U.S.C. §§ 1331

and 1338(a), (b).

        8.      Defendants are subject to personal jurisdiction in this district because they

purposefully direct their activities toward and conduct business with consumers throughout the

United States, including within the state of Illinois and this district, through at least the internet-

based e-commerce stores accessible in Illinois.

        9.      Defendants are further subject to personal jurisdiction in this district because each

Defendant directly targets consumers in the United States, including in Illinois, through at least

the fully interactive commercial Internet stores operating under the Defendant domain names

and/or the Online Marketplace Accounts identified in Schedule A attached hereto (collectively,

the “Defendants” or “Defendant Internet Stores”). Specifically, the Defendants are reaching out to

do business with Illinois residents by operating one or more commercial, interactive Internet Stores

through which Illinois residents can purchase products infringing Plaintiffs copyrighted designs.

Each of the Defendants has targeted sales from Illinois residents by operating online stores that

offer shipping to the United States, including Illinois, accepts payment in United States Dollars,

and on information and belief, has sold infringing products to Illinois residents. Each of the

Defendants are committing tortious and illegal activities directed towards the state of Illinois and

causing substantial injury in Illinois, and Plaintiff’s claims arise out of those activities.




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       10.     Alternatively, Defendants are subject to personal jurisdiction in this district under

Federal Rule of Civil Procedure 4(k)(2) because (i) Defendants are not subject to jurisdiction in

any state’s court of general jurisdiction; and (ii) exercising jurisdiction is consistent with the

United States Constitution and laws.

       11.     Venue is proper in this district under 28 U.S.C. § 1400(a) because Defendants and

their agents are subject to the court’s personal jurisdiction and therefore reside in this judicial

district or may be found here.

       12.     Venue in this judicial district is otherwise proper under 28 U.S.C. § 1391(b)(3)

because Defendants are subject to the court’s personal jurisdiction and not a resident in the United

States and therefore there is no district in which any action may otherwise be brought.

                                            PARTIES

       13.     Dolls Kill is a California corporation with its headquarters located in California and

doing business throughout the United States and within Illinois.

       14.     Dolls Kill owns the copyrights for the Subject Designs identified in Exhibit A that

are the subject of this action and is in the business of developing, obtaining, marketing, selling,

creating, and distributing products featuring its original Subject Designs.

       15.     Dolls Kill creates original artwork and designs and sells products incorporating its

original designs. Dolls Kill sells thousands of products featuring its original designs and artwork

every year.

       16.     Dolls Kill owns the copyrights for the original Subject Photographs identified in

Exhibit D that are the subject of this action and is in the business of creating and developing

original photography to market and advertise its products, including those bearing the original

Subject Designs.



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          17.   Defendants have advertised their inferior Infringing Products with Dolls Kill’s

Subject Photographs in their advertisements, and online listings. Specifically, several Defendants

continuously use original Subject Photographs depicting genuine Subject Products, in order to pass

off the Infringing Products as Dolls Kill’s products, e.g. by using, copying, and reproducing the

Subject Photographs, in advertisements (“Offending Advertisements”) for Infringing Products,

suggesting to the general public that Defendants are authorized retailers of Dolls Kill’s Products

bearing the Subject Designs. They are not.

          18.   Defendants’ Offending Advertisements reproducing, displaying, copying or

otherwise distributing the Subject Photographs violate Dolls Kill’s copyrights in those Subject

Photographs.

          19.   Dolls Kill has not granted a license or any other form of authorization to Defendants

with respect to their use of either the Subject Designs or Subject Photographs.

          20.   Defendants have the capacity to be sued under Federal Rule of Civil Procedure

17(b).

          21.   The Defendants in Schedule A (collectively, “Defendants”) are individuals and

business entities who, upon information and belief, reside primarily in foreign jurisdictions. The

Defendants of unknown makeup own and/or operate one or more Defendant Internet Stores

identified in Schedule A under seller aliases identified therein and other seller aliases not yet

known to Plaintiff.

          22.   Defendants conduct business throughout the United States, including within Illinois

and in this District, through the operation of fully interactive commercial websites and online

marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has, upon information and belief, sold, offered for sale, and continues



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to sell, products featuring the Subject Design to consumers within the United States and this

District.

        23.    Defendants have purposefully directed some portion of their illegal activities

towards consumers in the state of Illinois through the advertisement, offer to sell, sale, and/or

shipment of Infringing Products to residents in the State.

        24.    Upon information and belief, Defendants may have engaged in fraudulent conduct

providing false and/or misleading information to the Internet based e-commerce platforms or

domain registrar where they offer to sell and/or sell Infringing Products.

        25.    Upon information and belief, Defendants will likely continue sell and offer for sale

products featuring Dolls Kill’s intellectual property, namely products featuring in whole, or in part,

the Subject Designs, unless preliminarily and permanently enjoined.

        26.    Defendants use their Internet-based businesses to infringe the intellectual property

rights of Dolls Kill and others.

        27.    Defendants, through the sale and offer to sell infringing products, are directly, and

unfairly, competing with Dolls Kill’s economic interests in the state of Illinois and causing Dolls

Kill harm and damage within this jurisdiction.

        28.    The natural and intended byproduct of Defendants’ actions is the erosion and

destruction of the goodwill associated with Dolls Kill’s intellectual property rights and the

destruction of the legitimate market sector in which it operates.

        29.    Upon information and belief, at all times relevant hereto, Defendants had actual or

constructive knowledge of Dolls Kill's intellectual property rights, including Dolls Kill’s exclusive

right to use and license such Subject Designs.




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       30.     In recent years, Dolls Kill identified numerous fully interactive, e-commerce stores,

including those operating under the Seller Aliases, which were offering for sale and/or selling

Infringing Products to consumers in this Judicial District and throughout the United States.

According to U.S. Customs and Border Protection (CBP), most infringing products now come

through international mail and express courier services (as opposed to containers) due to increased

sales from offshore online infringers. U.S. Customs and Border Protection, Intellectual Property

Right Seizure Statistics, FY 2021 (https://www.cbp.gov/sites/default/files/assets/documents/2022-

Sep/202994 - FY 2021 IPR Seizure Statistics BOOK.5 - FINAL %28508%29.pdf), at 28 attached

hereto as Exhibit E. The 2021 report noted that nearly 90 percent of all intellectual property

seizures occur in the international mail and express environments with the majority of seized goods

originating from Asia. Id; see also, The Counterfeit Silk Road: Impact of Counterfeit Consumer

Products Smuggled Into the United States prepared for The Buy Safe America Coalition by John

Dunham & Associates.

       31.     Third party service providers like those used by Defendants do not adequately

subject new sellers to verification and confirmation of their identities, allowing infringers to

“routinely use false or inaccurate names and addresses when registering with these e-commerce

platforms.” Exhibit F, Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the Age of the

Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also, report on “Combating Trafficking

in Counterfeit and Pirated Goods” prepared by the U.S. Department of Homeland Security’s Office

of Strategy, Policy, and Plans (Jan. 24, 2020), attached as Exhibit G and finding that on “at least

some e-commerce platforms, little identifying information is necessary for [an infringer] to begin

selling” and recommending that “[s]ignificantly enhanced vetting of third-party sellers” is

necessary. Infringers hedge against the risk of being caught and having their websites taken down



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from an e-commerce platform by preemptively establishing multiple virtual storefronts. Id. at p.

22. Since platforms generally do not require a seller on a third-party marketplace to identify the

underlying business entity, infringers can have many different profiles that can appear unrelated

even though they are commonly owned and operated. Id. at p. 39. Further, “E- commerce platforms

create bureaucratic or technical hurdles in helping brand owners to locate or identify sources of

[infringement].” Exh. F at 186-187.

       32.     Defendants conduct business throughout the United States, including within Illinois

and this Judicial District, through the operation of fully interactive, commercial online

marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has offered to sell, and, on information and belief, has sold and

continues to sell the Infringing Products to consumers within the United States and including

Illinois. Non-inclusive exemplars of these Infringing Products being offered for sale and sold by

Defendants are shown in Exhibit B attached hereto.

       33.     Upon information and belief, Defendants are an interrelated group of infringers

working in active concert to knowingly and willfully make, use, offer for sale, sell, and/or import

into the United States for subsequent sale or use products that infringe directly and/or indirectly

the Subject Designs in the same or series of transactions or occurrences.

       34.     Specifically, each of the Defendants have been involved in the same series of

occurrences underlying the infringing activities, which this claim arises from. The series of

occurrences include the manufacture, offer for sale, and sale of the Infringing Products. For

example, Defendants all sell and/or offer for sale the same Infringing Products with minor

variations, and use similar, if not identical, product images, descriptions, and videos as shown in

Exhibit B.



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          35.   Defendants each use the same tactics to conceal their identities, which make it

virtually impossible for Plaintiff to learn Defendants’ true identities and the exact interworking of

their network. Indeed, Defendants go to great lengths to conceal their identities, often using

multiple fictitious names and addresses to register and operate their network of Defendant Internet

Stores.

          36.   On information and belief, Defendants regularly create new online marketplace

accounts on various platforms using identifies listed in Schedule A, as well as other unknown

fictitious names and addresses. Such Defendant Internet Store registration patterns are one of many

common tactics used by Defendants to conceal identities and avoid being shut down.

          37.   E-commerce store operators like Defendants regularly register or acquire new seller

aliases for the purpose of offering for sale and selling Infringing Products. Such seller alias

registration patterns are one of many common tactics used by e-commerce store operators like

Defendants to conceal their identities and the full scope and interworking of their operation and to

avoid being shut down.

          38.   The Defendant Internet Stores contain numerous similarities, including the same

product images and videos, the same payment methods, metadata, illegitimate SEO tactics, lack

of contact information, identical or similarly priced items and discounts, the same incorrect

spelling, the use of the same text and keyword stuffing, and the same descriptions.

          39.   Defendants in this case and other similar cases will often register new online

marketplace accounts or move funds to offshore accounts once they receive notice of a lawsuit.

The Defendants in this case and other similar cases receive notice of lawsuits through online

forums such as sellerdefense.cn, QQ.com chat rooms, kaidianyo.com, and kuajingvs.com where




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those within the network notify Defendant Internet Sellers when a lawsuit is filed and discuss

tactics for evading detection, pending litigation, and potential new lawsuits.

        40.     If Defendants provide additional credible information regarding their identities,

Dolls Kill will take appropriate steps to amend the Complaint.

        41.     Infringers, such as Defendants, typically operate multiple credit card merchant

accounts and PayPal accounts behind layers of payment gateways so that they can continue

operation in spite of Plaintiff’s enforcement efforts, such as takedown notices. On information and

belief, Defendants maintain offshore bank accounts and regularly move funds from their PayPal

accounts or other financial accounts to those offshore bank accounts outside this Court’s

jurisdiction.

        42.     Defendants, without any authorization or license, continue to knowingly and

willfully offered for sale, sold, advertised, and/or imported into the United States for subsequent

resale or use products that infringe directly and/or indirectly the Subject Designs and Subject

Photographs and continue to do so via the Defendant Internet Stores.

        43.     Defendants’ infringement of the Subject Designs and Subject Photographs in

connection with the offering to sell, selling, or importing of the Infringing Products, including the

offering for sale and sale of Infringing Products into Illinois, is irreparably harming Dolls Kill.

        44.     Dolls Kill is informed and believes and thereon alleges that at all times relevant

hereto each of the Defendants were the agent, affiliate, officer, director, manager, principal, alter-

ego, and/or employee of the remaining Defendants and was at all times acting within the scope of

such agency, affiliation, alter-ego relationship and/or employment; and actively participated in or

subsequently ratified and adopted, or both, each and all of the acts or conduct alleged, with full

knowledge of all the facts and circumstances, including, but not limited to, full knowledge of each



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and every violation of Dolls Kill’s rights and the damages to Dolls Kill proximately caused

thereby.

                  JOINDER OF DEFENDANTS IN THIS ACTION IS PROPER

        45.       Defendants are promoting, selling, offering for sale and distributing goods bearing

identical or confusingly similar imitations of Dolls Kill’s Subject Designs within this District.

        46.       Joinder of all Defendants is permissible under Fed. R. Civ. P. 20(a)(2), permitting

joinder of persons in an action where any right to relief is asserted against defendants jointly,

severally, or in the alternative with respect to or arising out of the same transaction, occurrence, or

series of transactions or occurrences; and any question of law or fact common to all defendants

will arise in this action.

        47.       Joinder of the multiple Defendants is permitted because Dolls Kill asserts rights to

relief against these Defendants jointly, severally, or in the alternative with respect to or arising out

of the same transaction, occurrence, or series of transactions or occurrences; and common

questions of law or fact will arise in the action.

        48.       Joinder of the multiple Defendants serves the interests of convenience and judicial

economy, which will lead to a just, speedy, and inexpensive resolution for Dolls Kill, Defendants,

and this Court.

        49.       Joinder of the multiple Defendants will not create any unnecessary delay, nor will

it prejudice any party. On the other hand, severance is likely to cause delays and prejudice Dolls

Kill and Defendants alike.

        50.       Joinder of the multiple Defendants is procedural only and does not affect the

substantive rights of any defendant listed on Schedule A hereto.




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        51.     This court has jurisdiction over the multiple Defendants. Venue is proper in this

court for this dispute involving the multiple Defendants.

        52.     Dolls Kill’s claims against the multiple Defendants are all transactionally related.

        53.     Defendants’ actions are logically related. All Defendants are engaging in the same

systematic approach of establishing online storefronts to redistribute illegal products from the

same or similar sources while maintaining financial accounts that the Defendants can easily

conceal to avoid any real liability for their actions.

        54.     All Defendants undertake efforts to conceal their true identities from Plaintiff to

avoid accountability for their activities.

        55.     All Defendants use payment and financial accounts associated with their online

storefronts or the online platforms where their online storefronts reside.

        56.     All Defendants use their payment and financial accounts to accept, receive, and

deposit profits from their illegal activities.

        57.     All Defendants can easily and quickly transfer or conceal their funds in their use of

payment and financial accounts to avoid detection and liability in the event their efforts are

discovered, or Dolls Kill obtains monetary award.

        58.     All Defendants understand that their ability to profit through anonymous internet

stores is enhanced as their numbers increase, even though they may not all engage in direct

communication or coordination.

        59.     Defendants’ business names, associated payment accounts, and any other seller

alias or e-commerce stores used in connection with the sale of infringements of Dolls Kill’s

intellectual property rights are essential components of Defendants’ online activities and are one

of the means by which Defendants further their infringement scheme and cause harm to Dolls Kill.



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        60.     Defendants are using infringements of Dolls Kill’s intellectual property rights to

drive Internet consumer traffic to their e-commerce stores and decreasing the size and value of

Dolls Kill’s legitimate marketplace and intellectual property rights at Dolls Kill’s expense.

        61.     Defendants, through the sale and offer to sell infringing products, are directly and

unfairly competing with Dolls Kill’s economic interests in the state of Illinois and causing Dolls

Kill harm and damage within this jurisdiction.

        62.     Upon information and belief, at all times relevant hereto, Defendants had actual or

constructive knowledge of Dolls Kill’s intellectual property rights, including Dolls Kill’s exclusive

right to use and license such intellectual property rights.

   FACTS RELATED TO PLAINTIFF’S SUBJECT DESIGNS AND PHOTOGRAPHS

        63.     Dolls Kill owns all rights in the Subject Designs depicted in Exhibit A. Dolls Kill

also owns all rights, title, and interest in the Subject Photographs depicted in Exhibit D.

        64.     Dolls Kill complied in all respects with the Copyright Act, 17 U.S.C. § 101, et. seq.,

and is the sole owner of the exclusive rights, title, interests, and privileges in and to the Subject

Designs.

        65.     Prior to the acts complained of herein, Dolls Kill widely publicly displayed and

disseminated the Subject Designs including without limitation on Dolls Kill’s website

www.DollsKill.com and its various social media platforms under the name “Dolls Kill”.

        66.     Genuine goods bearing Dolls Kill’s copyrighted designs are sold by Dolls Kill and

its authorized distributors.

        67.     Defendants, and each of them, have willfully copied, reproduced, distributed, sold,

and/or offered for sale Dolls Kill’s Subject Designs for financial benefit by, without limitation,




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reproducing the Subject Design online and/or products bearing copies of the Designs for

commercial benefit, including without limitation, through Defendant Internet Stores.

       68.     Dolls Kill has identified numerous e-commerce stores, including the Defendant

Internet stores, that offer for sale and/or are selling Infringing Products to consumers in this

Judicial District and throughout the United States. E-commerce stores, including through stores

like Defendants, have resulted in a sharp increase in the shipment of unauthorized products into

the United States.

       69.     Plaintiff’s products are modern, visually pleasing to consumers, and have become

popular to consumers within the watersport community, resulting in thousands of sales throughout

the United States.

       70.     Third party service providers like those used by Defendants do not adequately

subject new sellers to verification and confirmation of their identities, allowing infringers to use

untraceable identifiers, such as false names and addresses, when registering with e-commerce

platforms.

       71.     Defendants concurrently employ and benefits from substantially similar marketing

and advertising strategies. For example, Defendants facilitate sales by designing the e-commerce

stores operating the Defendant Internet Stores so that they appear to unknowing consumers to be

authorized online retailers, outlet stores, or wholesalers. Defendant internet stores often include

content and images that make it difficult for consumers to distinguish such stores from authorized

retailers by using identical and stolen videos and images from authorized retailers’ websites.

       72.     Dolls Kill has not licensed or authorized the Defendants to use the Subject Designs

or Subject Photographs nor are Defendants authorized retailers of such.




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          73.   Defendants regularly register or acquire new seller aliases for the purpose of

offering for sale and selling Infringing Products. Such registration patterns are one of the many

tactics used by Defendants to conceal their identities and evade takedown. This tactic evidences

coordination and a common series of transactions and occurrences underlying the claims alleged

herein.

          74.   Defendants maintain off-shore accounts and regularly move funds from their

financial accounts to off-shore bank accounts outside this Court’s jurisdiction to avoid payment of

any monetary judgment awarded to Dolls Kill.

          75.   On information and belief, Defendants are an interrelated group of infringers

working in active concert to knowingly and willfully make, use, offer for sale, sell, and/or import

into the United States for subsequent sale or use Infringing Products in the same series of

transactions or occurrences.

          76.   Defendants are using identical copies of Dolls Kill’s Designs. True and correct

copies and screen captures of examples of Defendants’ unauthorized use are depicted in Exhibit

B (“Infringing Products”). These copies and screen captures represent non-inclusive exemplars of

the Infringing Products.

          77.   Defendants advertise their e-commerce stores to the consuming public via e-

commerce stores on Internet marketplace websites. True and correct screen captures of the

Defendant Internet Stores offering Infringing Products for sale and displaying Offending

Advertisements are shown in Exhibit C attached hereto.

          78.   Defendants also advertise the Infringing Products or with Dolls Kill’s original

Subject Photographs. True and correct copies and screen captures of examples of the Defendants’




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unauthorized use of the Subject Photographs are depicted in Exhibit D and Exhibit C attached

hereto.

          79.   In advertising their stores and products, Defendants improperly and unlawfully use

the Subject Designs and Subject Photographs without Dolls Kill’s permission.

          80.   By their actions, Defendants are contributing to the creation and maintenance of an

illegal marketplace operating in parallel to the legitimate marketplace for Dolls Kill’s genuine

goods.

          81.   Defendants are causing individual, concurrent and indivisible harm to Dolls Kill

and the consuming public by (i) depriving Dolls Kill and other third parties of their right to fairly

compete for space within search engine results and reducing the visibility of Dolls Kill’s genuine

goods on the World Wide Web, (ii) causing an overall degradation of the value associated with

the images, and (iii) increasing Dolls Kill’s overall cost to market its goods and educate consumers

via the Internet.

          82.   As a result, Defendants are defrauding Dolls Kill and the consuming public for

Defendants’ own benefit. Upon information and belief, Defendants facilitate sales by designing

the Defendant Internet Stores so that they appear unknowing to customers to be authorized online

retailer, outlet stores, or wholesalers selling genuine Subject Design. They also accomplish this

through the unauthorized and infringing use of the Subject Photographs. Many of the Defendant

Internet Stores look sophisticated and accept payment in US Dollars via credit or debit cards.

Defendant Internet Stores include design elements that make it very difficult for consumers to

distinguish such infringing sites from authorized seller websites.

          83.   Upon information and belief, at all times relevant hereto, Defendants had full

knowledge of Dolls Kill’s ownership of the Subject Designs and Subject Photographs, including



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its exclusive right to use and license such Subject Designs and Subject Photographs, through Dolls

Kill’s numerous online profiles and features, online publications and press featuring Dolls Kill’s

work, Dolls Kill’s social media accounts, and/or through viewing the Subject Designs and Subject

Photographs on third-party websites (e.g., Tumblr, Pinterest, internet search engines, etc.).

        84.     Defendants’ use of the Subject Designs and Subject Photographs, including the

promotion and advertisement, reproduction, distribution, sale and offering for sale of the Infringing

Products, is without Dolls Kill’s consent or authorization.

        85.     Defendants are engaging in the above-described infringing activities knowingly

and intentionally or with reckless disregard or willful blindness to Dolls Kill’s rights and for the

purpose of trading on Dolls Kill's intellectual property and reputation.

        86.     Dolls Kill has not in any way authorized Defendants, or any of them, to copy,

reproduce, duplicate, disseminate, distribute, or create derivative works of the Subject Designs and

Subject Photographs.

        87.     If Defendants’ intentional infringing activities are not preliminarily and

permanently enjoined, Dolls Kill and the consuming public will continue to be harmed.

        88.     Defendants’ infringing activities are likely to cause confusion, deception, and

mistake in the minds of consumers before, during and after the time of purchase.

        89.     Defendants are likely to transfer or conceal their assets to avoid payment of any

monetary judgment awarded to Dolls Kill.

        90.     Dolls Kill is suffering irreparable injury and has suffered substantial damages

because of Defendants’ unauthorized and infringing activities and their wrongful use of Dolls

Kill’s intellectual property rights.




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       91.     Dolls Kill should not have competition from Defendants because Plaintiff never

authorized Defendants to use Dolls Kill’s Subject Designs or Subject Photographs.

       92.     Dolls Kill has no adequate remedy at law.

                                 FIRST CLAIM FOR RELIEF

                (For Copyright Infringement – Against all Defendants, and Each)

       93.      Dolls Kill repeats, re-alleges, and incorporates herein by reference as though fully

set forth, the allegations contained in the preceding paragraphs of this Complaint.

       94.     Dolls Kill has complied in all respects with the Copyright Act of the United States

and other laws governing copyright and secured the exclusive rights and privileges in and to the

copyrights at issue.

       95.     Under 17 U.S.C. § 106, Dolls Kill has the exclusive rights and privileges to

reproduce, prepare derivate works, distribute copies, and import copies into the United States of

the copyrighted Subject Designs and Subject Photographs. The Defendants only infringing on Doll

Kill’s rights in the Subject Design are identified as “SD” under the “claims” column. The

Defendants infringing on both Dolls Kill’s rights in the Subject Photograph and Subject Design

are identified with an “A” in the “claims” column.

       96.     Dolls Kill alleges that Defendants, and each of them, infringed Dolls Kill’s

exclusive copyrights by creating infringing derivative works, copying, displaying, and/or

distributing works to the public based upon Dolls Kill’s Subject Designs in violation of 17 U.S.C.

§ 106, as seen, without limitation, in the screen captures shown in Exhibits B, C, and D.

       97.     Dolls Kill alleges that Defendants accessed the Subject Design and Subject

Photographs through its widespread distribution via Dolls Kill public online profiles and other

displays through authorized retailers. Further, access cannot be disputed given the identical



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advertisements and designs and the identicalness of the works at issue. Thus, the identicalness

between the works is probative of copying and proves that independent creation is unlikely.

       98.     Dolls Kill alleges that Defendants, and each of them, infringed Dolls Kill’s

exclusive copyrights by creating infringing derivative works, copying, displaying, and/or

distributing works to the public based upon Dolls Kill’s Subject Photographs in violation of 17

U.S.C. § 106, as seen, without limitation, in the screen captures shown in Exhibits C and D.

       99.     Due to Defendants’ sale of Infringing Products as alleged herein, Defendants, and

each of them, have obtained direct and indirect profits they would not otherwise have realized but

for their infringement of Dolls Kill’s rights in the Subject Designs and Subject Photographs. As

such, Dolls Kill is entitled to disgorgement of Defendants’ profits directly and indirectly

attributable to Defendants’ infringement of its rights in the Subject Designs and Subject

Photographs in an amount to be established at trial.

       100.    Defendants’ conduct constitutes willful and direct copyright infringement. The

similarities between the Subject Designs and Infringing Products and the similarities between the

Subject Photographs and images used in the Offending Advertisements further proves the willful

and direct infringement by Defendants.

       101.    On information and belief, Defendants routinely and intentionally infringe the

intellectual property rights of others, including but not limited to, acting with willful blindness

and/or reckless disregard.

       102.    Due to Defendants’, and each of their acts of infringement, Dolls Kill has actually

and proximately suffered actual, general, and special damages in an amount to be established at

trial under 17 U.S.C. § 504(b) and (c).

       103.    The harm caused to Dolls Kill is irreparable.



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       104.    Dolls Kill is entitled to temporary and permanent injunctive relief from Defendants’

willful infringement.

       105.    Dolls Kill complied with registration requirements for the Subject Designs and

Subject Photographs before the commission of the infringement at issue and on that basis seeks

statutory damages in an amount up to $150,000.00 per designs per the Copyright Act.

       106.    Dolls Kill is informed and believes and thereon alleges that Defendants, and each

of their, conduct as alleged herein was willful, reckless, and/or with knowledge, subjecting

Defendants, and each of them, to enhanced statutory damages, claims for costs and attorneys’ fees,

and/or a preclusion from deducting certain costs when calculating disgorgeable profits.

                               SECOND CLAIM FOR RELIEF

(For Vicarious and/or Contributory Copyright Infringement – Against all Defendants, and Each)

       107.    Dolls Kill repeats, re-alleges, and incorporates herein by reference as though fully

set forth, the allegations contained in the preceding paragraphs of this Complaint.

       108.    On information and belief, Dolls Kill alleges that Defendants knowingly induced,

participated in, aided and abetted in and profited from the illegal reproduction and distribution of

the Subject Designs and Subject Photographs as alleged hereinabove. Such conduct included,

without limitation, creating derivative works, creating products which use Dolls Kill’s Subject

Designs and Subject Photographs, and/or selling such derivative works and products and that that

Defendants knew, or should have known, were not authorized to be published by Defendants.

       109.    On information and belief, Dolls Kill alleges that Defendants, and each of them,

are vicariously liable for the infringement alleged herein because they had the right and ability to

supervise the infringing conduct and because they had a direct financial interest in the infringing

conduct. Specifically, Defendants, and each of them, profited in connection with the Infringing



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Products and Offending Advertisements, and were able to supervise the distribution, broadcast,

and publication of the Infringing Products and Offending Advertisements.

        110.    By reason of the Defendants’, and each of their, acts of contributory and vicarious

infringement as alleged above, Dolls Kill has suffered general and special damages in an amount

to be established at trial.

        111.    Due to Defendants’ acts of copyright infringement as alleged herein, Defendants,

and each of them, have obtained direct and indirect profits they would not otherwise have realized

but for their infringement of Dolls Kill’s rights in the Subject Design and Subject Photographs. As

such, Dolls Kill is entitled to disgorgement of Defendants’ profits directly and indirectly

attributable to Defendants’ infringement of Dolls Kill rights in the Subject Designs and Subject

Photographs, in an amount to be established at trial.

        112.    On information and belief, Dolls Kill alleges that Defendants, and each of them,

have committed acts of copyright infringement, as alleged above, which were willful, intentional

and malicious, which further subjects Defendants, and each of them, to liability for statutory

damages under Section 504(c)(2) of the Copyright Act in the sum of up to $150,000.00 per

infringement and/or a preclusion from asserting certain equitable and other defenses.

                                     PRAYER FOR RELIEF

                         Wherefore, Plaintiff prays for judgment as follows:

                                      Against All Defendants

        Wherefore, Plaintiff prays for judgment as follows against all Defendants and with respect

to each claim for relief:

        a.      Entry of temporary, preliminary, and permanent injunctions pursuant to 17 U.S.C.§

502(a), and Federal Rule of Civil Procedure 65 enjoining Defendants, their agents, representatives,



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servants, employees, affiliates, and/or all those acting in concert or participation therewith, from

manufacturing or causing to be manufactured, importing, advertising or promoting, distributing,

selling or offering to sell infringing goods; from infringing the Subject Designs and Subject

Photographs; from using the Subject Designs and Subject Photographs, or any design similar

thereto, in connection with the sale of any unauthorized goods; from using any reproduction,

infringement, copy, or colorable imitation of the Subject Designs and Subject Photographs in

connection with the publicity, promotion, sale, or advertising of any goods sold by Defendants;

and from otherwise unfairly competing with Plaintiff;

       b.      Entry of a temporary restraining order, as well as preliminary and permanent

injunctions pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the Court’s inherent authority,

enjoining Defendants and all third parties with actual notice of the injunction issued by this Court

from participating in, including providing financial services, technical services or other support to,

Defendants in connection with the sale and distribution of non- genuine goods bearing and/or using

the Subject Designs or Subject Photographs;

       c.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the

Court’s inherent authority that, upon Plaintiff’s request, the applicable governing Internet

marketplace website operators and/or administrators for the Seller IDs who are provided with

notice of an injunction issued by this Court disable and/or cease facilitating access to the Seller

IDs and any other alias seller identification names being used and/or controlled by Defendants to

engage in the business of marketing, offering to sell, and/or selling foods bearing infringements of

the Subject Designs or Subject Photographs;

       d.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and this

Court’s inherent authority that, upon Plaintiff’s request, any messaging service and Internet



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marketplace website operators, administrators, registrar and/or top level domain (TLD) registry

for the Seller IDs who are provided with notice of an injunction issued by this Court identify any

e-mail address known to be associated with Defendants’ respective Seller IDs.

       e.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and this

Court’s inherent authority that upon Plaintiff’s request, any Internet marketplace website operators

and/or administrators who are provided with notice of an injunction issued by this Court

permanently remove from the multiple platforms, which include, inter alia, a direct platform,

group platform, seller product management platform, vendor product management platform, and

brand registry platform, any and all listings and associated images of goods bearing infringements

of the Subject Designs and Subject Photographs via the ecommerce stores operating under the

Seller IDs, including but not limited to the listings and associated images identified by the

Identification Numbers on Schedule A annexed hereto, and upon Plaintiff’s request, any other

listings and images of goods bearing infringements of the Work associated with any Identification

Numbers linked to the same sellers or linked to any other alias seller identification names being

used and/or controlled by Defendants to promote, offer for sale and/or sell goods bearing

infringements of the Subject Design and Subject Photographs;

       f.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act and this

Court’s inherent authority that, upon Plaintiff’s request, Defendants and any Internet marketplace

website operators and/or administrators who are provided with notice of an injunction issued by

this Court immediately cease fulfillment of and sequester all goods of each Defendant bearing the

Work in its inventory, possession, custody, or control, and surrender those goods to Plaintiff;

       g.      Entry of an Order requiring Defendants to correct any erroneous impression the

consuming public may have derived concerning the nature, characteristics, or qualities of their



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products, including without limitation, the placement of corrective advertising and providing

written notice to the public;

       h.      Entry of an Order requiring Defendants to account to and pay Plaintiff his actual

damages and Defendants’ profits attributable to the infringement, or, at Plaintiff's election,

statutory damages, as provided in 17 U.S.C. § 504;

       i.      Entry of an award, pursuant to 17 U.S.C. § 505, of Plaintiff’s costs, disbursements,

and reasonable attorneys’ fees, associated with bringing this lawsuit;

       j.      That Plaintiff be awarded its costs and attorney’s fees to the extent they are

available under the Copyright Act U.S.C. §§ 505, 1203, et seq.

       k.      Entry of an Order that, upon Plaintiff’s request, Defendants and any financial

institutions, payment processors, banks, escrow services, money transmitters, or marketplace

platforms, and their related companies and affiliates, identify and restrain all funds, up to and

including the total amount of judgment, in all financial accounts and/or sub-accounts used in

connection with the Seller IDs, or other alias seller identification or ecommerce store names used

by Defendants presently or in the future, as well as any other related accounts of the same

customer(s) and any other accounts which transfer funds into the same financial institution

account(s) and remain restrained until such funds are surrendered to Plaintiff in partial satisfaction

of the monetary judgment entered herein;

       l.      That a trust be entered over all Infringing Products, and all profits realized through

the sales and distribution of said products;

       m.      That Plaintiff be awarded pre-judgment interest as allowed by law;

       n.      That Plaintiff be awarded the costs of this action; and




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          o.     That Plaintiff be awarded such further legal and equitable relief as the Court deems

proper.

          Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P. 38 and the

7th Amendment to the United States Constitution.

                                                 Respectfully submitted,

Dated: March 7, 2024                     By:     /s/ Mackenzie Paladino
                                                 Mackenzie Paladino, Esq. (Bar No. 6342560)
                                                 DONIGER / BURROUGHS
                                                 247 Water Street, First Floor
                                                 New York, New York 10038
                                                 mpaladino@donigerlawfirm.com
                                                 Attorney for Plaintiff




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